                           UNITED STATES DISTRICT COURT                                  馬 鍮              .c
                        WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION                                       APR 2 5 2014
                                                                                        UoS.DESTRrr COuRT
                                    DOCKET NO.1:14CR30                                    WL D彗
                                                                                                  ":.OF
                                                                                                          。
                                                                                                          C.



UNITED STATES OF AⅣ IERICA,

                       Plainti玉
                                                           CONSENT ORDER AND
               V.                                        JUDGMENT OF FORFEITURE
3)JEttIFER STRUBELL,

                       Defendant.



         WHEREAS, the defendant, JENNIFER STRUBELL, has entered into a plea agreement
(incorporated by reference herein) with the United States and has voluntarily pleaded guilty
pursuant to Federal Rule of Criminal Procedure 1 1 to one or more criminal offenses under which
forfeiture may be ordered;

        WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 2l U.S.C. S 853(p) and Fed. R. Crim. P . 32.2(e); and is therefore subject
to forfeiture pursuant to 21 U.S.C. S 853 and 18 U.S.C. S 982, provided, however, that such
forfeiture is subject to any and all third party claims and interests, pending final adjudication
herein;

        WHEREAS, the defendant herein waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the judgment
against defendant;

        WHEREAS, pursuant to Federal Rules of Criminal Procedure 32.2(b)(l) & (c)(2), the
Court finds that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty and that the defendant has a legal or possessory interest in the
property;

       WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding concerning any of the property described
below. Ifthe defendant has not previously submitted such a claim, the defendant hereby waives all




          Case 1:14-cr-00030-DLH       Document 34        Filed 04/25/14      Page 1 of 3
right to do so. If any administrative forfeiture or civil forfeiture proceeding conceming any of the
property described below has previously been stayed, the defendant hereby consents to a lifting of
the stay and consents to forfeiture;

       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order of this Court No. 3:05MC302-C (September 8, 2005);

        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        The following property is forfeited to the United States:

        Approximately $10,000.00 in United States Currency seized on June 26,2013 from
        Jennifer Strubell at Revamp Fitness at 8801 J.M. Keynes Drive, Suite 150, in
        Charlotte, North Carolina during the course of the investigation;

        Approximately $16,631.00 in money order seized on June 26,2013 from Jennifer
        Strubell at Revamp Fitness at 8801 J.M. Keynes Drive, Suite 150, in Charlotte, North
        Carolina during the course of the investigation;

        Approximately 526,450.00 in United States Currency seized on June 26,2013 from
        Jennifer Strubell at Ashley Furniture Store at 11416 East Independence Boulevard
        in Matthew, North Carolina during the course of the investigationl and

        570,100.00 check representing proceeds surrendered by Jennifer Strubell and seized
        on July 2412013 in Charlotte, North Can during the course of the investigation.

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

         If and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. S 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture.

        Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

        Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, upon entry of this
Order of Forfeiture, the United States Attorney's Office is authorized to conduct any discovery
needed to identify, locate or dispose of the property, including depositions, interrogatories,
requests for production of documents and to issue subpoenas, pursuant to Rule 45 of the Federal
Rules of Civil Procedure.

        Following the Court's disposition of all timely petitions filed, a hnal order of forfeiture
shall be entered, as provided by Fed. R. Crim. P.32.2(c)(2). If no third party files a timely petition,




        Case 1:14-cr-00030-DLH           Document 34         Filed 04/25/14       Page 2 of 3
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim. P.
32.2(c)(2), and the United States shall have clear title to the property, and shall dispose of the
property according to law. Pursuant to Rule 32.2(b)(4)(A), the defendant consents that this order
shall be final as to defendant upon filing.




Assistant United States Attornev




EBEN T.RAWLS,HI
Attorney for Dcfcndant




       SignCd t詭   」 yJ鼻                     ￨




                                     United States Magistrate Judge
                                     Western District of North Carolina




                                                 3




       Case 1:14-cr-00030-DLH          Document 34       Filed 04/25/14      Page 3 of 3
